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                   IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF TEXAS – FORT WORTH DIVISION

                                                            :
 DAVID BAKUTIS, as Administrator for the                    :
 ESTATE OF ATATIANA JEFFERSON,                              :
                                                            :
                                 Plaintiff,                 : Civil Action No. 4:21-cv-665-Y
 v.                                                         :
                                                            :
 AARON DEAN                                                 : JURY TRIAL DEMANDED
                                                            :
 And                                                        :
                                                            :
 THE CITY OF FORT WORTH                                     :
                                                            :
                                         Defendants.        :
                                                            :

                       PLAINTIFF’S SECOND AMENDED COMPLAINT

        NOW COMES David Bakutis, as Administrator for the Estate of Atatiana Jefferson,

complaining of Defendants Aaron Dean and the City of Fort Worth, Texas (“the City”) and for

cause would show the Honorable Court as follows:

      1. On October 12, 2019, Atatiana Jefferson was shot and killed by Aaron Dean, a Fort Worth,

         Texas police officer.

      2. This is an action brought by the Plaintiff against Defendants, Fort Worth, Texas, and its

         agent and servant, former Police Officer Aaron Dean, for Dean’s use of excessive and deadly

         force under the color of state law resulting in the death of Atatiana Jefferson in violation of

         her rights under the Fourth Amendment of the United States Constitution secured

         pursuant to 42 U.S.C. § 1983.

      3. Plaintiff, David Bakutis, Esquire, is the duly appointed temporary administrator of the

         Estate of Atatiana Jefferson.

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    4. Atatiana Jefferson died intestate. She was unmarried and had no children. She was survived

        by her mother Yolanda Carr.

    5. Yolanda Carr was the mother of Atatiana Jefferson.

    6. Yolanda Carr passed away on January 9, 2020. She survived her daughter by 90 days.

    7. Jerome Eschor is the biological father of Atatiana Jefferson. Jerome Eschor survives his

        daughter.

    8. Plaintiff brings this action pursuant to Texas’s survivorship statutes as the duly appointed

        temporary administrator of the Estate of Atatiana Jefferson.

    9. Plaintiff brings this action pursuant to Texas’s wrongful death statute on behalf of Ms.

        Jefferson’s putative wrongful death beneficiaries.

    10. Plaintiff alleges that Defendant Dean violated decedent’s constitutional rights when he

        unlawfully entered her property and shot her to death.

    11. Plaintiff alleges that the City of Fort Worth, Texas, failed to properly train, supervise, screen,

        discipline, transfer, counsel or otherwise properly equip and control officers including those

        who are known, or who should have been known, to engage in the use of excessive force

        and/or deadly force.

    12. The City had a duty, but failed, to implement and/or enforce training, policies, practices

        and procedures for the Fort Police Department that respected Plaintiff’s constitutional

        rights.

    13. Defendant City’s failure to adequately supervise, discipline, and train Defendant Dean,

        failure to implement the necessary policies and procedures, and affirmative implementation




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        of unconstitutional policies caused Plaintiff’s unwarranted and excruciating physical and

        mental anguish and death.

    14. For these civil rights violations and other causes of action discussed herein, Plaintiff seeks

        redress and compensation for damages and the wrongful death of Atatiana Jefferson.



                                             PARTIES

    15. Plaintiff David Bakutis is the duly appointed temporary administrator of the Estate of

        Atatiana Jefferson and is an adult individual and a resident of the state of Texas.

    16. Defendant Aaron Dean was at all relevant times a police officer with the Fort Worth Police

        Department.

    17. Defendant Fort Worth, Texas is a municipality duly organized and existing under the laws

        of the state of Texas. Defendant Fort Worth, Texas is responsible for the funding, budget,

        policies, operation, and oversight of the Fort Worth Police Department. The Fort Worth

        Police Department is also responsible for preventive, investigative, and enforcement services

        for all citizens of Fort Worth. Defendant Fort Worth may be served at the Office of the City

        Attorney, 200 Texas St., Fort Worth, TX 76102



                                 JURISDICTION AND VENUE

    18. Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. §§ 1331 and 1343 as this

        action is brought pursuant to 42 U.S.C. § 1983 to redress a deprivation of the Fourth

        Amendment rights of the decedent Atatiana Jefferson.           Plaintiff further invokes the




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        supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to adjudicate pendent

        state law claims.

    19. Venue is proper in this Honorable Court as Defendants’ constitutional violations and

        intentional torts and otherwise violative conduct occurred within the Northern District of

        Texas.

                            THE MURDER OF ATATIANA JEFFERSON

    20. On or about October 12, 2019, at approximately 2:25 a.m., Fort Worth Police Department

        received a call on a non-emergency line from James Smith, a neighbor to Ms. Jefferson’s

        residence at 1203 E. Allen Street in Fort Worth.

    21. Mr. Smith relayed his concern that the front door of Ms. Jefferson’s residence was open.

    22. Mr. Smith did not state any other reason to warrant suspicion on the call, only stating that

        the door is usually closed.

    23. At the time, Atatiana Jefferson was in the home, which was owned by her mother, Yolanda

        Carr.

    24. Ms. Jefferson was staying in the home and taking care of her 8-year-old nephew Z.C. due to

        her mother’s hospitalization with medical issues.

    25. Ms. Jefferson and her nephew had stayed up late that night playing video games.

    26. The door to the home was open to allow a cool breeze into the home.

    27. Fort Worth Police Officer Aaron Dean responded to the call and arrived in the vicinity of

        1203 E. Allen Street at approximately 2:28 a.m.

    28. The radio call Dean responded to was for an “open structure” call.




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    29. Another unidentified female Fort Worth Police Officer (hereafter “Officer Jane Doe”) also

        responded to the call and arrived at approximately 2:29 a.m.

    30. Both Dean and Officer Jane Doe parked their marked police vehicles around the corner

        from the residence and out of view.

    31. Neither Dean nor Officer Jane Doe had activated their emergency lights or sirens.

    32. Dean and Officer Jane Doe undertook these actions to intentionally foreclose the

        opportunity to be identified as police officers.

    33. Shortly after arriving, Dean approached the home and looked through the screen window

        at the front door.

    34. At no point did Dean knock on the door, announce himself as a police officer, or give

        Jefferson and Z.C. any verbal indication that he or Officer Jane Doe were there.

    35. Dean proceeded to walk around the corner of the home and look into another screen door

        on the other side of the home.

    36. Dean took these actions without a warrant, probable cause, or reasonable suspicion and in

        doing so violated Ms. Jefferson’s and Z.C.’s privacy rights and the Fourth Amendment.

    37. Once again, Dean did not knock on the door, nor did he announce himself as a police

        officer or give any indication he or Officer Jane Doe were there.

    38. Dean continued to search around the outside of the property using a flashlight.

    39. Dean and Officer Jane Doe turned on their flashlights and looked in the cars in the

        driveway.

    40. The doors to both cars were closed and there were no signs of a disturbance.




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    41. Dean also observed the garage, and both doors on the garage were closed. Similarly, the

        garage provided no evidence of a disturbance of any kind.

    42. Dean also observed the door on the fence next to the garage. The door was closed and there

        was no visible evidence of a break-in.

    43. Dean then opened the fence door, moved to a window on the side of the home and shined

        his flashlight into the window.

    44. At this point, Dean and Officer Jane Doe had still not given any verbal or physical indication

        to Jefferson or Z.C. that they were police officers, why they were at the home, or that they

        were on the property at all.

    45. Ms. Jefferson became aware that there were a person or people outside her windows.

    46. Ms. Jefferson had no way to know the shadowy figures sneaking around her back yard were

        police officers and not criminals seeking to rob, rape, or murder her.

    47. Ms. Jefferson went to the window to see what was going on.

    48. When Ms. Jefferson’s figure appeared in the window, Dean immediately pulled out his

        service weapon and pointed it into the window at Jefferson while simultaneously flashing

        his flashlight into the window.

    49. Dean’s view of Ms. Jefferson through the window was obstructed by the reflection of his

        flashlight.

    50. Dean’s body camera footage shows that Ms. Jefferson did not point any weapon of any kind

        at Dean or his partner.

    51. When Dean pointed his service weapon into the window, he did not announce himself as

        a police officer.



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    52. Instead, immediately upon seeing Ms. Jefferson, Dean began shouting, “Put your hands up!

        Show me your hands!”

    53. While still in the middle of issuing his command, and without giving Ms. Jefferson any

        chance to respond, Dean fired a single shot into the window, striking Atatiana.

    54. After Dean shot Ms. Jefferson, he and Officer Jane Doe entered the house and attempted

        to give CPR to her as she bled on the floor of her own home in front of her nephew.

    55. Jefferson was pronounced dead at the scene at approximately 3:05 a.m.

    56. The cause of death was a single gunshot wound.

    57. On October 14, 2019, Dean resigned from the Fort Worth Police Department.

    58. On that same day, Dean was arrested and charged with murder.

    59. On December 20, 2022, Dean was convicted of manslaughter and sentenced to 11 years

        and 10 months in prison.



                    FAILURES OF THE FORT WORTH POLICE DEPARTMENT

    60. Between 2005 and 2019, the Fort Worth Police Department has displayed a consistent and

        systematic failure to properly train and supervise its officers on the proper use of force, and

        techniques and principles of de-escalation, resulting in numerous incidents of officers

        unnecessarily using force resulting in serious bodily injury and death, particularly against

        people of color.

    61. These incidents are well known in the Fort Worth community, receiving widespread media

        coverage.

    62. The incidents are known to policymaker Kraus or Price as well.



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    63. Not only did the Fort Worth Police Department and its policymaker Chief Kraus or Mayor

        Price tolerate the regular use of excessive force by officers, the Department actively

        attempted to downplay and cover up the use of excessive force and the commission of crimes

        by its officers.

    64. By tolerating the regular use of excessive force and engaging in cover-ups of the use of

        excessive force, Fort Worth policymaker Kraus or Price indicated to Fort Worth officers

        that they were free to use force however they liked without the threat of discipline or

        accountability.



                                         Custom of Excessive Force

                                                Kevin Peterson

    65. On August 14, 2005, Fort Worth Police officers violently grabbed Kevin Peterson while he

        was sleeping in his parked truck and dragged him out of the vehicle.

    66. Peterson had done nothing wrong and was sleeping in the truck when approached by the

        officers.

    67. The officers slammed Peterson to the ground before violently slamming his body against

        the bed of the truck to arrest him, causing serious bodily injuries.

    68. Despite Fort Worth PD knowledge of the incident, the officers were not disciplined.

                                            Michael Jacobs Jr.

    69. In April 2009, 24-year-old Michael Jacobs Jr. was suffering from a mental health episode

        after failing to take his medication.




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    70. Police were called to help get Jacobs to the hospital, however, instead they assaulted him

        and tasered him repeatedly until he died.

    71. Jacobs was unarmed and not suspected of committing any crime.

    72. None of the involved officers were disciplined despite Fort Worth PD knowledge of the

        incident and the City offering the Jacobs family $2 million to resolve litigation arising from

        his death.

                                              Kevin Malone

    73. On July 23, 2009, Fort Worth police officers stopped Kevin Malone, a Black man, for

        allegedly driving a stolen truck.

    74. When the officers pulled Malone over, one of the officers struck Malone with the muzzle of

        his gun, struck him with his knee, and ordered his canine dog to attack Malone even though

        Malone was already handcuffed.

    75. Despite Fort Worth PD knowledge of the incident, the officers were not disciplined.

                                            Jermaine Darden

    76. On May 16, 2013, Fort Worth police officers executed a no-knock warrant at a house which

        Jermaine Darden, a Black man, was inside.

    77. Darden complied with the officers’ orders, but nonetheless was choked, kicked, punched,

        and tasered, causing him to suffer a fatal heart attack.

    78. Despite Fort Worth PD knowledge of the incident, the officers were not disciplined.

                                               Nelda Davis

    79. On January 1, 2015, Nelda Davis, called 911 to request that a man be removed from her

        business.



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    80. When Fort Worth police officers Halmagean and Olson arrived, they instead stated the

        man must be allowed to enter and attempted to force Ms. Davis to permit the man to enter.

    81. Officer Halmagean then grabbed Davis’s arm and twisted it behind her back causing it to

        fracture.

    82. Olson and Halmagean then joked that Davis had “learned her lesson” and released her

        without charging her with a crime.

    83. Upon information and belief, despite Fort Worth PD knowledge of the incident, neither

        Olson nor Halmagean were disciplined.

                                          Phillip Vallejo

    84. On July 30, 2015, Phillip and Brenda Vallejo went to Ojos Locos to celebrate Phillip’s 30th

        birthday. While there, Brenda was harassed by a group of men. Her partner, Phillip Vallejo,

        got into a verbal altercation with the men until one of the men revealed he had a gun.

    85. At that time, Phillip and Brenda exited Ojos Locos and separated from the men. Shortly

        thereafter, Fort Worth officer Ochsendorf arrived.

    86. Upon arrival, Ochsendorf drew his gun and shot Phillip Vallejo multiple times in the back,

        killing him.

    87. Upon information and belief, despite Fort Worth PD knowledge of the incident,

        Ochsendorf was not disciplined.

    88. A civil suit for excessive force remains pending against Ochsendorf.

                                             Craigory Adams

    89. On June 23, 2015, Craigory Adams, a Black man, knocked on a neighbor’s door carrying a

        barbeque fork, which he said he carried around to keep away stray dogs.



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    90. The neighbor called Fort Worth police.

    91. Despite the fact that Adams had not committed a crime and was no threat to anyone, one

        of the responding officers pointed a shotgun at Adams and discharged it, striking him in

        the arm.

    92. Despite Fort Worth PD knowledge of the incident, none of the involved officers were

        disciplined.

                                         Daniel Jon Brunley Jr.

    93. On December 17, 2015, Fort Worth police officers pulled over Daniel Jon Brunley Jr. for a

        traffic stop.

    94. Despite Brunley being unarmed, one of the officers shot him twice in the back, then shot

        him twice again, including once in the head, killing him.

    95. Despite Fort Worth PD knowledge of the incident, none of the involved officers were

        disciplined.

                                             David Collie

    96. In July of 2016, Fort Worth PD officer Barron shot unarmed David Collie, a Black man, in

        the back as he walked away from police.

    97. Officers initially claimed that Collie had raised a weapon at police, but video capturing the

        incident disproved this narrative.

    98. Collie had committed no crime, but nonetheless was subjected to potentially deadly force

        by the Fort Worth PD.

    99. As a result of the shooting, Collie is now paralyzed from the waist down.




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    100.       Despite the video capturing the incident which was in the possession of the Fort

        Worth PD, the involved officers were not disciplined.

                                               Henry Newson

    101.       In November 2016, Henry Newson, a Black man, was standing outside the hospital

        after being discharged waiting for a ride home.

    102.       Fort Worth Police arrived while he was being questioned by security about why he

        was there.

    103.       When he refused to leave, a white Fort Worth PD officer punched him in the face.

    104.       Upon information and belief, despite Fort Worth PD knowledge of the incident, the

        officer was not disciplined.

                                               Dorshay Morris

    105.       In August 2017, Dorshay Morris, a Black woman, called Fort Worth police to report

        her boyfriend threatening her. When officers arrived, they treated her like a suspect, and

        when she refused to give her ID to officers one of the officers grabbed her by the hair.

    106.       Fort Worth PD Sergeant Kenneth Pierce, who is white, ordered a rookie officer to

        shoot Morris with a Taser despite the fact that there was no basis for the use of the Taser.

    107.       She was taken into custody and charged with aggravated assault with a deadly

        weapon and resisting arrest. The charges were subsequently dropped.

    108.       Sergeant Price was initially fired, but ultimately was reinstated due to Fort Worth

        PD’s toothless disciplinary process.




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                                            Cody Wayne Seals

    109.       On June 1, 2019, Army veteran Cody Wayne Seals, who suffered from post-traumatic

        stress syndrome, suffered a mental breakdown in his home. A police stand-off ensued.

    110.       Seals exited his home and began walking towards the officers carrying only a

        flashlight.

    111.       Nonetheless, the officers shot and killed Seals.

    112.       Despite Fort Worth PD knowledge of the incident, none of the involved officers

        were disciplined.

                                        Unnamed Minor Female

    113.       In an incident reviewed by the Fort Worth Police Department Expert Review Panel

        (discussed in detail infra), Fort Worth PD officers responded to a call for a suicidal teenager.

    114.       The young woman refused to get out of a parked car to speak with the officers. The

        officers immediately began to forcibly remove her from the car and slammed her to the

        ground. After they handcuffed her, one officer dragged her across the sidewalk and street

        by her hands.

    115.       The officer then aggressively pushed her into the car as she begged to speak to her

        mother. As she resisted, the officer grabbed her by her legs and shoved her in; she had

        urinated on herself and her shirt fell off exposing her breasts.

    116.       The officers made no attempt to de-escalate and did not call a Crisis-Intervention

        Trained Officer. When the young woman stepped outside the car again, nude from the

        waist up, an officer sprayed her with pepper spray four times, directly in the face.




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    117.       Upon information and belief, despite Fort Worth PD knowledge of the incident,

        none of the involved officers were disciplined.

    118.       All of the above-described incidents received substantial media attention and/or

        were the subject of litigation involving the City of Fort Worth.

    119.       As such, Defendants Kraus and Price knew or should have known about each and

        every incident.



                             Custom of Racial Animus and Discrimination

    120.       In December 2018, a task force created by the City of Fort Worth to address issues

        in race and policing released a report, concluded that the City had failed to address

        perceptions amongst residents that there was systematic racism in the Fort Worth Police

        Department.

    121.       The task force was asked to “identify patterns and practices related to police

        interactions with the public during investigative stops, searches, arrests, de-escalation and

        use of force incidents.”

    122.       The task force recommended the City have continued conversations with the

        community but did not recommend any changes to already existing police policies that have

        disproportionately affected the city’s minority community.

    123.       In 2017, Black men and women accounted for 18% of the City’s population but

        constituted 41% of the arrests made by Fort Worth PD.

    124.       The Fort Worth Police Department’s racially discriminatory practices have

        manifested themselves within the internal operations of the department.



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    125.       In January 2015, former Police Chief Jeff Halstead resigned after six years on the job.

    126.       Halstead resigned after both the Black and Latino officers’ associations called for his

        removal when an investigation documented his failure to address racially hostile behavior

        within the department.

    127.       This racially discriminatory atmosphere is reflected in the employment and

        promotion practices of Fort Worth PD.

    128.       In 2017, Fort Worth PD sworn personnel were 65% white while the Fort Worth

        population was only 38% white.

    129.       The corporal/detective level is the first level of promotion within the Fort Worth

        PD.

    130.       Black Fort Worth PD officers constituted just 7% of corporals/detectives.

    131.       Black Fort Worth PD officers were excluded entirely from specialized units within

        the Fort Worth PD. In 2017, the following specialized units had zero Black officers:

               a. SWAT (26 officers);

               b. K-9 (11 officers);

               c. Criminal Intelligence (11 officers);

               d. Homicide (11 officers);

               e. Major Cases (11 officers); and,

               f. Robbery (16 officers).

    132.       At all relevant times, the City knew of and tolerated racism within the Fort Worth

        PD.




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    133.       The City’s failure to address these longstanding issues regarding race and the use of

        excessive force caused the death of Atatiana Jefferson.



             Failure to Discipline and Departmental Ratification and Cover-up of Excessive Force

    134.       On December 21, 2016, Jacqueline Craig, a Black woman, called police after her

        neighbor, a white man, assaulted her 8-year-old son after he spilled raisins on the ground

        outside the man’s house.

    135.       Fort Worth Police Officer, William Martin, responded to the call. One of the first

        questions Officer Martin asked was, “So why don’t you teach your son not to litter?”

    136.       After Ms. Craig told him that her neighbor did not have the right to put his hands

        on her son, whether he had littered, the officer asked, “Why not?”

    137.       Officer Martin told her that if she did not stop yelling at him, “you’re going to piss

        me off, and I’m going to take you to jail.”

    138.       The Officer subsequently falsely arrested Ms. Craig.

    139.       The matter was investigated, and the officers who conducted the investigation

        recommended Officer Martin be terminated.

    140.       However, the Fort Worth Police Department only suspended Martin for ten days.

    141.       The investigating officers who recommended firing were then demoted for allegedly

        disseminating a video of the arrest.

    142.       The officers filed a whistleblower lawsuit against the City, alleging they were

        retaliated against for reporting that Martin committed a crime.




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    143.       A motion for summary judgement filed by the City of Fort Worth was denied, and

        the lawsuit remains pending.



                                   Systemic Departmental Failures

    144.       In the wake of the shooting death of Atatiana Jefferson, the City of Fort Worth

        formed an Expert Panel to analyze the issues and failures within the Fort Worth PD.

    145.       The purpose of the Expert Panel review is “to identify patterns and practices related

        to police interactions with the public during investigative stops, searches, arrests, de-

        escalation and use of force incidents.”

    146.       On July 31, 2020, the Expert Panel released its initial findings.

    147.       The Expert Panel review of files found a pattern of encounters that start with officers

        yelling a command, often with weapons drawn, under circumstances where no apparent

        threat is present.

    148.       The Panel additionally found significant evidence of “officers failing to take time to

        permit a subject to calm down or comply, take advantage of distance, or wait for backup.”

    149.       As a result of these findings and others, the Panel concluded “that officers are not

        consistently adhering to policies to avoid force during encounters with community members

        and these policies are not enforced by the department.”

    150.       The Panel found “that the de-escalation policy is not uniformly followed and is

        inadequately enforced.”




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    151.          These failures are unsurprising given the Panel’s finding that Fort Worth PD has an

        admitted “para-military” mindset that leads to aggressive tactics from the onset of an

        encounter.

    152.          These consistent failures in the application of use of force policies was reinforced by

        a disciplinary process that was largely toothless and ignored misconduct by officers.

    153.          The panel found “there is no indication that these incidents were analyzed after the

        fact to determine whether a different course of action may have avoided the need to use

        force.”

    154.          Rather, the Expert Panel found the Internal Affairs Department limited review of

        use of force incidents to “whether force was lawful and did not extend to whether it was

        avoidable, necessary, or appropriate.”

    155.          The Expert Panel’s findings demonstrate that the City failed to properly train and

        implement on de-escalation and use of force policies and the end result was a “para-military”

        police force that was conditioned to strike first, to the detriment of the community and in

        particular, Atatiana Jefferson.

    156.          These failures resulted in Defendant Dean failing to properly respond to the open

        door call and instead sneak around the house, with a gun drawn, ready to shoot at the first

        figure that appeared in a window.

    157.          The City’s failures caused Atatiana Jefferson’s death.




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                             Failure to Screen, Train, and Monitor Defendant Dean

    158.       Aaron Dean was hired to the Fort Worth Police Department despite the

        Department’s knowledge that he had previously sexually assaulted a woman.

    159.       In 2004, Dean sexually assaulted a woman at the University of Texas by grabbing her

        breast without consent.

    160.       As a result of the incident, Dean pled no contest to assault by contact.

    161.       In video footage of Dean’s job interview with the Fort Worth Police Department,

        Dean described the incident that led to his arrest, stating, "There was a young lady at the

        school flirting with me. I wanted to respond to see where it would go. It escalated a bit. I

        touched her inappropriately. It was an inappropriate action. And she, of course, took

        exception to it and rightfully so.”

    162.       In that same interview, Dean was asked whether he would be able to kill someone if

        he had to. Without hesitation, Dean callously answered, “No problem.”

    163.       Despite Dean’s conviction from his sexual assault of a young woman at the University

        of Texas, Fort Worth Police Department deemed him fit to become an officer and issued

        him a firearm, one he would later use to murder another innocent young woman, Atatiana

        Jefferson.

    164.       Additional records from Dean’s brief 18-month employment with the Fort Worth

        Police Department show that his conduct as an officer raised serious concerns, even within

        the hyper-aggressive “paramilitary” culture of the Fort Worth Police Department.




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    165.       Dean’s training records show there were serious concerns about his abilities as a

        police officer during his first year on the job. His supervisors stated Dean had “tunnel

        vision” and “needs improvement on communicating with the public and fellow officers."

    166.       Despite these concerns and the obvious implication that Dean’s deficiencies were

        likely to result in physical harm or a constitutional violation, the City of Fort Worth never

        took any additional steps to train Dean.

    167.       Further training could have improved Officer Dean and protected the constitutional

        rights of the citizens he encountered.

    168.       The City’s failure to provide such training caused the death of Atatiana Jefferson.



                   Lack of Policy and Deficient Training on Open Structure Response

    169.       Under Fort Worth PD Directive 327.05, Fort Worth police officers are to investigate

        reports of “open doors” the same way as they would investigate a call for a “silent alarm,”

        which is covered by Directive 327.01.

    170.       In other words, the Fort Worth Police Department does not have a specific policy

        directive for officers responding to a report of an open door and tells its officers to treat

        such calls the same as a home’s alarm going off.

    171.       The department makes no distinction between an alarm going off and a front door

        being open.

    172.       Directive 327.01 does not give any guidance as to how to determine whether there

        has been a forced entry at a home, how to determine if someone already inside the home is




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        a burglar or assailant, or when the use of force is appropriate if an officer suspects there is a

        burglar or assailant inside the home.

    173.       Therefore, Fort Worth PD official policy directs officers to respond to a wellness

        check for an open door in the same manner as they would respond to a burglary in progress,

        equating a welfare check with an active felony investigation.

    174.       This policy is reflective of Fort Worth PD’s gross failure to properly train and enforce

        de-escalation policies.

    175.       Instead of knocking on the door and asking if everyone is ok, Fort Worth PD officers

        are conditioned to act like Navy SEALS, silently sneaking into backyards with firearms

        drawn, ready to eliminate any potential “threats” – including where it should be obvious no

        threat exists.

    176.       The result of this deficient and thoughtless policy and the abject failure to train and

        enforce de-escalation concepts was the death of Atatiana Jefferson.



                                       WRONGFUL DEATH ACTION

    177.       Plaintiff David Bakutis, as administrator of the estate of Atatiana Jefferson, deceased,

        hereby brings these claims pursuant to the Texas Wrongful Death Statute, Tex. Code Ann.

        § 71.004, on behalf of Yolanda Carr and all those persons entitled by law to recover damages

        as a result of the wrongful death of Atatiana Jefferson.

    178.       No other action has been brought to recover for Atatiana Jefferson’s death under the

        aforementioned statute(s).




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    179.       Plaintiff claims all available damages under the Texas Wrongful Death Statute for

        financial contributions and the loss of future services, support, society, comfort, affection,

        guidance, tutelage, and contributions and the Plaintiff’s decedent, Atatiana Jefferson, would

        have rendered to the wrongful death beneficiaries but for her traumatic, untimely and

        unnatural death occurring as a result of the unlawful shooting which is subject to the present

        litigation.

    180.       Plaintiff claims damages for all medical bills and/or expenses.

    181.       Plaintiff claims damages for payment of funeral and burial expenses.



                                           SURVIVAL ACTION

    182.       Plaintiff also brings his claims as a Survival Action under the Tex. Code Ann. §

        71.021, for all damages recoverable under the Statute, including but not limited to, loss of

        income both past and future income potential, as well as pain and suffering prior to death,

        and for the emotional distress suffered by Plaintiff’s decedent, Atatiana Jefferson, from the

        initiation of Defendant Dean’s unlawful search tactics until her death.


                          COUNT I: FOURTH AMENDMENT VIOLATION
                      UNLAWFUL SEARCH AGAINST DEFENDANT AARON DEAN

    183.       Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

    184.       Defendant Dean violated the Fourth Amendment rights of Atatiana Jefferson when

        he entered the side and rear of the property without probable cause or reasonable suspicion.




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    185.       Plaintiff would show that Defendant Dean denied Jefferson of her right to be secure

        in her home by unlawfully entering into her backyard in violation of the Fourth

        Amendment to the United States Constitution.

    186.       Defendant Dean engaged in a course of conduct that violated Jefferson’s Fourth

        Amendment rights which began with his unlawful entry onto the property and culminated

        with his murder of Ms. Jefferson.

    187.       Defendant Dean embarked on a willful, malicious, reckless, and outrageous course

        of conduct that was intended to cause and, in fact, caused Jefferson to suffer extreme and

        severe mental and emotional distress, anxiety, terror and agony, and ultimately her death.

    188.       Plaintiff seeks survival damages, as stated above, including for the nature and extent

        of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss of life and

        enjoyment of life, as well as all available wrongful death damages available under the law.

    WHEREFORE, Plaintiff demands judgement in his favor, and against Defendant Dean,

pursuant to 42 U.S.C. § 1983, in an amount in excess of $10 million, including interest, delay

damages, costs of suit, general and specific damages, including both survival and wrongful death

damages, punitive and exemplary damages as provided by law, attorneys’ fees under 42 U.S.C. §§

1985 and 1988, and any other damages legally appropriate at the time of jury trial.



                  COUNT II: FOURTH AMENDMENT VIOLATION
               EXCESSIVE FORCE AGAINST DEFENDANT AARON DEAN

    189.       Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

    190.       Defendant Dean violated the Fourth Amendment rights of Atatiana Jefferson when

        he entered the side and rear of the property without probable cause or reasonable suspicion.

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    191.       Defendant Dean engaged in a course of conduct that violated Jefferson’s Fourth

        Amendment rights which began with his unlawful entry onto the property and culminated

        with his murder of Ms. Jefferson.

    192.       Plaintiff would show that Defendant Dean failed to act as an objectively reasonable

        officer would have acted in the same or similar circumstances. That is, Defendant Dean,

        without justification and the need to do so, used excessive and deadly force as described

        above and killed Jefferson without legal justification.

    193.       The excessive and deadly force used by Defendant Dean was not objectively

        reasonable, justified, nor was it necessary under the circumstances.

    194.       Plaintiff would show that Defendant Dean denied Jefferson of her right to be free

        from the use of excessive force in violation of the Fourth Amendment to the United States

        Constitution.

    195.       Defendant Dean embarked on a willful, malicious, reckless, and outrageous course

        of conduct that was intended to cause and, in fact, caused Jefferson to suffer extreme and

        severe mental and emotional distress, anxiety, terror and agony.

    196.       Plaintiff seeks survival damages, as stated above, including for the nature and extent

        of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss of life and

        enjoyment of life, as well as all available wrongful death damages available under the law.

    WHEREFORE, Plaintiff demands judgement in his favor, and against Defendant Dean,

pursuant to 42 U.S.C. § 1983, in an amount in excess of $10 million, including interest, delay

damages, costs of suit, general and specific damages, including both survival and wrongful death




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damages, punitive and exemplary damages as provided by law, attorneys’ fees under 42 U.S.C. §§

1985 and 1988, and any other damages legally appropriate at the time of jury trial.



                             COUNT III: MUNICIPAL LIABILITY
                       AGAINST DEFENDANT THE CITY OF FORT WORTH

    197.       Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

    198.       The customs, practices, and policies of the City of Fort Worth were a moving force

        behind Defendant Dean’s violation of Atatiana Jefferson’s constitutional rights.

    199.       Jefferson was deprived of rights and privileges secured to her by the United States

        Constitution and by other laws of the United States, by the City of Forth Worth through

        its many failures addressed supra.

    200.       Policymaker Kraus or Price knew of the failures of the Fort Worth Police Department

        as discussed herein but failed to take the necessary steps to rectify the failures and adequately

        protect the constitutional rights of the people of Fort Worth.

    201.       These failures and the refusal to rectify them were the moving force behind the

        deprivation of Atatiana Jefferson’s constitutional rights.

    202.       Plaintiff seeks survival damages, as stated above, including for the nature and extent

        of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss of life and

        enjoyment of life, as well as all available wrongful death damages available under the law.

    WHEREFORE, Plaintiff demands judgement in his favor, and against Defendant the City of

Fort Worth pursuant to 42 U.S.C. § 1983, in an amount in excess of $10 million, including

interest, delay damages, costs of suit, general and specific damages, including both survival and




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wrongful death damages, attorneys’ fees under 42 U.S.C. §§ 1985 and 1988, and any other

damages legally appropriate at the time of jury trial.



Respectfully submitted,

 /s/ John J. Coyle

 MCELDREW PURTELL                                    MERRITT LAW FIRM
 Daniel N. Purtell, Esq.                             S. Lee Merritt, Esq.
 John J. Coyle, Esq.
 Mark V. Maguire, Esq.                               1910 Pacific Ave
 123 South Broad Street                              Suite 8000
 Suite 2250                                          Dallas, TX 75201
 Philadelphia, PA 19109                              215-545-8800
 215-545-8800                                        lee@leemerrittesq.com
 dan@mceldrewyoung.com
 jcoyle@mceldrewyoung.com
 mmaguire@mceldrewyoung.com


 REED SMITH
 Rizwan A. Qureshi, Esq.
 John P. Kennedy, Esq.

 1301 K Street, N.W.
 Suite 1000
 Washington, D.C. 20005
 202-414-9200
 rqureshi@reedsmith.com

 599 Lexington Avenue, 22nd Floor
 New York, NY 10022
 212-521-5400
 jkennedy@reedsmith.com


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